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                             United States District Court
                                       for the
                             Southern District of Florida

  Ari Teman, Plaintiff,                    )
                                           )
  v.                                       ) Civil Action No. 23-21361-Civ-Scola
                                           )
  The City of Miami Beach, et al.,         )
  Defendants.                              )
                          Order Denying Emergency Motion
        This matter is before the Court on the Plaintiff Ari Teman’s (“Teman”)
 emergency motion for the Court to order the Defendants the City of Miami
 Beach, et al. (collectively, the “Defendants”) to (i) provide him defense counsel
 and (ii) consent to allow Teman to travel for three weeks to visit his mother in
 Israel. (ECF No. 4.) The Court has considered the motion, the record in this
 case, the applicable law, and is otherwise fully advised. For the reasons stated
 below, the Court denies Teman’s emergency motion. (ECF No. 4.)
        This matter involves Teman’s pro se claims against the City of Miami
 Beach, the City of Miami Beach Office of the City Attorney, Miami-Dade
 County, and others for alleged violations of his civil rights under 42 U.S.C. §
 1983 and various amendments of the United States Constitution. Teman filed
 his emergency motion simultaneously with his complaint. As best the Court
 can tell from both filings, Teman is aggrieved by events in an underlying,
 ongoing Florida state court case in which he appears to have been charged with
 a misdemeanor. (See, e.g., Compl. ¶¶ 15, 18, ECF No. 1 (“In the Plaintiff's case,
 Mr. Joseph and his team were presented with four (4) independent eye
 witnesses who issued written and video statements confirming that the
 Plaintiff did not touch anyone[.]”; “Rather than dismiss the case, they
 attempted to swindle the Plaintiff into taking a ‘Diversion’ where he would
 take a class and the count would be wiped clean.”); Mot. 1, ECF No. 4 (“[T]he
 bond conditions in the City’s misdemeanor case against the Plaintiff do not
 allow the Plaintiff to leave the jurisdiction, despite their ‘no jail’ stipulation.”).)
 Teman never identifies the underlying state court action. Notwithstanding this,
 in his emergency motion Teman asks the Court to interfere in that unnamed
 proceeding to require that he be appointed a public defender and to eliminate
 any and all bond conditions restricting his travel. (Mot. 2–3, ECF No. 4.)
        To begin, Teman’s motion fails to meet the requirements for an
 emergency motion under Local Rule 7.1(d)(1) in several ways. The rule requires
 that “[a] filer requesting emergency action . . . must set forth in detail the
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 nature of the emergency, the date by which a ruling is necessary, and the
 reason the ruling is needed by the stated date.” S.D. Fla. L.R. 7.1(d)(1).
 Teman’s motion does none of these things. Although Teman states that his
 motion “constitutes an emergency for a number of reasons” and includes the
 Rule’s required certification, none of the circumstances he outlines would
 prevent the court from “provid[ing] meaningful relief to a critical, non-routine
 issue after the expiration of seven days.” See id. Moreover, the motion fails to
 specify a date by which the ruling is needed, much less why a ruling is needed
 by said date. These deficiencies suffice not only to deny the motion, but also to
 impose sanctions. See id. (“The unwarranted designation of a motion as an
 emergency motion may result in sanctions.”).
        Furthermore, Teman’s motion is deficient on the merits in numerous
 ways. Perhaps most significantly, Teman fails to cite any authority in support
 of his requested relief. In other words, he provides zero legal support for why
 the Court has the authority to interfere with the underlying Florida state court
 action or for why, if that authority exists, it should be exercised in this case.
 The circumstances in which federal district courts can meddle in state
 proceedings are quite limited. “As the Eleventh Circuit has explained, ‘[f]ederal
 courts [should] abstain from hearing cases that would interfere with state
 proceedings where those proceedings are ongoing, they implicate important
 state interests, and there is an adequate opportunity to raise constitutional
 challenges in those proceedings.’” Moultrie v. Pensacola Police Dep’t, No.
 3:21cv1052-LC-HTC, 2021 U.S. Dist. LEXIS 245249, at *4 (N.D. Fla. Oct. 29,
 2021) (quoting Daniels v. Geraldi, 578 F. App’x 811, 811 (11th Cir. 2014)),
 report and recommendation adopted, 2021 U.S. Dist. LEXIS 244794 (N.D. Fla.
 Dec. 23, 2021).
        Here, Teman’s filings provide little to no information as to the state court
 proceeding at issue. Thus, the Court cannot conclude that its interference in
 that unidentified proceeding is either allowed or merited. See, e.g., Macleod v.
 Scott, No. 3:14-cv-793-J-39MCR, 2015 U.S. Dist. LEXIS 90686, at *14 (M.D.
 Fla. Jan. 14, 2015) (“In short, Plaintiff here asks this Court to compel certain
 state officers to protect his right to a trial by jury in an underlying state-court
 proceeding and/or to vacate a State Court Order declaring Plaintiff to be a
 vexatious litigant. This Court has no jurisdiction to order either.”); Meier v.
 Deutsche Bank Tr. Co. Ams., No. 2:09-cv-169-FtM-29SPC, 2010 U.S. Dist.
 LEXIS 40171, at *4 (M.D. Fla. Apr. 23, 2010) (“To the extent that plaintiffs are
 seeking relief from this Court in conjunction with pending litigation in state
 court, this Court has no authority to interfere in such matters.”).
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       Accordingly, the Court denies Teman’s emergency motion. (ECF No. 4.)
 The Court reminds Teman that he must comply with the requirements of the
 Local Rules and the Court’s orders in the filing of any future motion.
       Finally, the Court directs the Clerk to mail copies of this order to
 Teman at the address listed below.
       Done and ordered in Miami, Florida on April 11, 2023.



                                          ________________________________
                                          Robert N. Scola, Jr.
                                          United States District Judge



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